             Case 2:13-cr-00006-MCE Document 123 Filed 02/05/14 Page 1 of 4


     DAVID D. FISCHER (SBN 224900)
 1   LAW OFFICES OF DAVID D. FISCHER, APC
     1007 7th Street, Suite 100
 2
     Sacramento, CA. 95814
 3   Tel. (916) 447-8600
     Fax (916) 930-6482
 4   E-Mail: davefischer@yahoo.com
 5
     Attorney for Defendant
 6
     AVTAR BAINS

 7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )       No. 2:13-CR-00006 MCE
11
                                                    )
                                                    )       STIPULATION REGARDING
            Plaintiff,                              )       EXCLUDABLE TIME PERIODS UNDER
12
                                                    )       SPEEDY TRIAL ACT;
     v.                                             )       FINDINGS AND
13
                                                    )       ORDER
14   JIT KAUR, et. al.,                             )
                                                    )
                                                    )
15          Defendants.                             )
                                                    )
16
                                                    )
                                                    )
17
                                                    )
                                                    )
18
                                                    )
                                                    )
19
                                                    )
                                                    )
20
                                                    )
21

22
                                         STIPULATION
23          Plaintiff United States of America, by and through its counsel of record, and the

24   defendants, by and through each counsel of record, hereby stipulate as follows:
25
            1.      By previous order, this matter was set for status on January 30, 2014, at 9:00 a.m.
26
            2.      By this stipulation, the defendants now move to continue the status conference
27

28
     until May 22, 2014, at 9:00 a.m., and to exclude time between January 30, 2014, and May 22,



                                                        1
                 Case 2:13-cr-00006-MCE Document 123 Filed 02/05/14 Page 2 of 4


     2014, under Local Code T4. Plaintiff does not oppose this request.
 1

 2          3.       The parties agree and stipulate, and request that the Court find the following:

 3          a.       The government has represented that the discovery associated with this case
 4
     includes approximately 7,722 pages of investigative reports and related documents in electronic
 5
     form which includes FBI-302s, interview memoranda, the search warrants and affidavit, redacted
 6

 7
     transcripts of recorded conversations and telephone calls, business records from the Employment

 8   Development Department, and deposition transcripts from the prior civil case. The government
 9   has also made available for inspection and copying additional business records from the
10
     Employment Development Department. These records are voluminous.
11
            b.       Counsel for all of the defendants desires additional time to consult with their
12

13   respective clients, to review the current charges, to conduct investigation and research related to

14   the charges, to review and copy discovery for this matter, to discuss potential resolutions with
15
     their clients, to prepare pretrial motions, and to otherwise prepare for trial.
16
            c.       Counsel for the defendants believe that failure to grant the above-requested
17
     continuance would deny them the reasonable time necessary for effective preparation, taking into
18

19   account the exercise of due diligence.

20          d.       The government does not object to the continuance.
21
            e.       Based on the above-stated findings, the ends of justice served by continuing the
22
     case as requested outweigh the interest of the public and the defendants in a trial within the
23

24
     original date prescribed by the Speedy Trial Act.

25          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
26   et seq., within which trial must commence, the time period of January 30, 2014, and May 22,
27
     2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code
28




                                                        2
              Case 2:13-cr-00006-MCE Document 123 Filed 02/05/14 Page 3 of 4


     T4] because it results from a continuance granted by the Court at defendants’ request on the basis
 1

 2   of the Court's finding that the ends of justice served by taking such action outweigh the best

 3   interest of the public and the defendants in a speedy trial.
 4
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 5
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within
 6

 7
     which a trial must commence.

 8

 9   IT IS SO STIPULATED.
10
     Dated: January 28, 2014                                        U.S. ATTORNEY
11
                                                            by:     /s/ David D. Fischer for
12
                                                                    JARED C. DOLAN
13                                                                  Assistant U.S. Attorney
                                                                    Attorney for Plaintiff
14

15
     Dated: January 28, 2014                                        /s/ David D. Fischer
16                                                                  DAVID D. FISCHER
                                                                    Attorney for Defendant
17                                                                  Avtar Kaur Bains
18
     Dated: January 28, 2014                                        /s/ David D. Fischer for
19                                                                  DAN KOUKOL
                                                                    Attorney for Defendant
20                                                                  MO PEGANY
21
     Dated: January 28, 2014                                        /s/ David D. Fischer
22                                                                  DWIGHT SAMUEL
                                                                    Attorney for Defendant
23                                                                  BALKAR SINGH
24
     Dated: January 28, 2014                                        /s/ David D. Fischer for
25                                                                  MICHAEL BIGELOW
                                                                    Attorney for Defendant
26                                                                  HARVINDER KAUR
27

28




                                                       3
             Case 2:13-cr-00006-MCE Document 123 Filed 02/05/14 Page 4 of 4


     Dated: January 28, 2014                        /s/ David D. Fischer for
 1
                                                    A. STANLEY KUBOCHI
 2                                                  Attorney for Defendant
                                                    SUKHWINDER KAUR
 3

 4

 5

 6                                      ORDER

 7         IT IS SO ORDERED.

 8   Dated: January 30, 2014
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                           4
